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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                 )
                                          )
                  Plaintiff,              )
      v.                                  )                          Case No. 13-20125-10-JAR
                                          )
MIGUEL ANGEL CORONA-MONJO,                )
                                          )
                  Defendant.              )
__________________________________________)

                                                   ORDER

       This matter is before the Court on Defendant Miguel Corona-Monjo’s pro se Motion for

Modification and Reduction of Sentence Pursuant to 18 U.S.C. § 3582(c) and Amendment 782 to

the Sentencing Guidelines (Doc. 509). The Court has reviewed Defendant’s motion and the

underlying proceedings and, as explained below, denies the relief requested.

        On August 5, 2016, the Court sentenced Defendant to 84 months’ imprisonment,

pursuant to the November 1, 2014 United States Sentencing Guidelines manual.1 The sentence

was outside the calculated Guidelines range of 210–262 months, based upon the Government’s

motion to reduce Defendant’s sentence to reflect his substantial assistance as set forth at 18

U.S.C. § 3553(e) and U.S.S.G.§ 5K1.1,2 as well as a departure under § 5K3.1, as set forth in

Section 5(e) of the Plea Agreement.3 Accordingly, Defendant’s sentence was not “based on a

sentencing range that has subsequently been lowered by the Sentencing Commission.”4 Pursuant



       1
        See Presentence Investigation Report, Doc. 307 at 14; Judgment, Doc. 489; SOR, Doc. 490.
       2
        Doc. 486.
       3
        Doc. 176.
       4
        18 U.S.C. § 3582(c)(2); see also United States v. White, 765 F.3d 1240, 1246 (10th Cir. 2014).
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to U.S.S.G. § 1B1.10(b)(2)(A), Defendant is not eligible for further relief, and the Court

dismisses his motion for lack of jurisdiction.

       IT IS THEREFORE ORDERED BY THE COURT that Defendant’s Motion for

Modification and Reduction of Sentence (Doc. 509) is dismissed for lack of jurisdiction.

       IT IS SO ORDERED.

Dated: January 24, 2017

                                                      S/ Julie A. Robinson

                                                     JULIE A. ROBINSON

                                                     UNITED STATES DISTRICT JUDGE




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